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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-03039-DDD-STV

  KRISTEN AGUIRRE,

         Plaintiff,

  v.

  MULTIMEDIA HOLDINGS CORPORATION d/b/a KUSA-TV; and
  TEGNA, INC.

         Defendants.


  ERRATA TO JOINT MOTION FOR EXTENSION OF TIME TO HOLD FED. R. CIV. P.
                     26(f) CONFERENCE (ECF NO. 8)


         This Notice of Errata is to correct an inaccurate date found in the parties’ Joint Motion for

  Extension of Time to Hold Fed. R. Civ. P. 26(f) Conference filed earlier today at ECF No. 8. The

  parties incorrectly stated that the Court had set the Scheduling Conference in this case for January

  12, 2022. Instead, January 12, 2022, is the date the Court required the parties to submit their

  proposed scheduling order. The Court has set the date for the parties scheduling conference for

  January 19, 2022 – one week later. This means that the parties are more than able to submit the

  proposed scheduling order by the deadline originally set for doing so, January 12, 2022. As a result,

  their request for an extension of time to hold their Rule 26 conference will not impact any other

  deadlines in this case, including the date by which time a proposed order must be submitted to the

  Court in advance of the Scheduling Conference.
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        DATED: December 29, 2021

                                           s/ Iris Halpern
                                           Iris Halpern
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                                      CERTIFICATE OF SERVICE

         I hereby certify that on December 29, 2021, I emailed Counsel of Record for Defendants,

  Camille Olson, at colson@seyfarth.com, a copy of this notice of errata because she has yet to have

  entered an appearance in this case but intends to do so shortly.



         DATED: December 29, 2021

                                                       s/ Iris Halpern
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